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UNI'I`ED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE Gf§ ton ?2 PH w 2a
EASTERN DIVISION AT JACKSON s “ " " `
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WILLIE DAVIS, § W¢_.,' GF m Mswm-i

Plaintiff
v.

PRISON REALTY TRUST, INC.

a/k/a PRISON REALTY CORPORATION;
CORRECTIONS CORPORATION OF
AMERICA; CORRECTIONAL
MANAGEMENT SERVICES
CORPORATION; PRISON
MANAGEMENT SERVICES, INC.;

and DOCTOR CRANTS,

Case No. 00-1096-Bl'e/P

Defendaots

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ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ Written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the
deadline to file a Motion to Compel is extended up to and including June 10, 2005.

IT IS SO ORDERED.

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APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

maxim

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Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case l:00-CV-01096 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

ESSEE

 

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